Case 2:Ol-cv-02564-SHI\/| Document 84 Filed 07/11/05 Page 1 of 2 Page|D 160

 

IN THE UNITED sTATEs DISTRICT coURT BY D~G.
FoR THE WESTERN DISTRICT oF TENNESSEE QSJUL
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MARK W. BRYAN, a%g§ 7'117`:'5)`li:.‘k§'rg mm
Petitioner,
vs. No. 01-2564-Ma
wAYNE BR_ANDON,
Respondent.

 

ORDER GRANTING MOTION TO EXPEDITE FILING OF DISCLOSURE STATEMENTS

 

Before the court is petitioner's June 30, 2005, motion to
expedite the exchange and filing of disclosure statements.
Respondent does not oppose the motion but requests that the
disclosure deadline be Monday, July ll, 2005. Counsel
for petitioner does not object. For good cause shown, the motion
is granted. The parties will exchange and file their disclosure
statements by 4:30 p.m. on Monday, July ll, 2005.

It is so ORDERED this //Jk»day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED `SA'S'DTTISTRIC COURT - WESTERN DTRCT 0 TESSEE

      

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Honcrable Samuel Mays
US DISTRICT COURT

